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                                                                           NEW YORK      PENNSYLVANIA     NEW JERSEY     DELAWARE

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VIA CM/ECF

January 30, 2020

Hon. Thomas J . McAvoy
U.S. Courthouse and Federal Building
15 Henry Street
Binghamton, New York 13901

Re :    Noakes v. Syracuse University
        CIV 5 :18-cv-00043-TJM-ML
        Letter Request to Extend Motion Deadline

Dear Judge McAvoy:

We represent the defendant in the above action. I write to request a brief extension of the
substantive motion deadline . The current deadline is Friday January 31 . We respectfully request
that the deadline be extended to February 14. The parties have reached an agreement in principle
that would end this litigation, and are in the process of finalizing paperwork to effectuate that
agreement . This request is made to preserve the motion filing deadline in the meantime .

Plaintiffs counsel informed me that he has no objection to this request. This is the first request
for an extension of time to file a substantive motion .

I am available at the Court’s convenience if any additional information is needed, and we thank
the Court for its consideration of this request.

Respectfully,

/s Jeffrey D . Casey

Jeffrey D. Casey (Bar No. 520896)

JDC

Joshua A . Engel, Esq . (Via CM/ECF)
Catherine Josh, Esq . (Via CM/ECF)




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